                                                                               Case:12-32330-EEB
                                                                     B6B (Official Form 6B) (12/07)                    Doc#:9 Filed:12/03/12                       Entered:12/03/12 16:38:48 Page1 of 4
                                                                     IN RE Giron, Vincent Jacob & Lenz-Giron, Danelle Kay                                                                   Case No. 12-32330 EEB
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                   AMENDED SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                                   Cash                                                                                          J                                  3.00
                                                                        2. Checking, savings or other financial            1st Bank, Checking, # 7061                                                                    J                                50.00
                                                                           accounts, certificates of deposit or            Bellco, Checking, #8560                                                                       J                                  5.00
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Misc. household goods and furnishings including: 1 sofa, 2                                    J                             3,500.00
                                                                           include audio, video, and computer              loveseats, 2 chairs, 1 dinette set, 1 washer, 1 dryer, 5 beds, 1
                                                                           equipment.                                      stove, 2 freezers, 1 refrigerator, 1 microwave, 3 vcr/dvd players,
                                                                                                                           4 tvs, 2 stereos, 1 computer
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Misc clothing for 2 adults and 4 children                                                     J                             2,500.00
                                                                        7. Furs and jewelry.                               Misc. Jewelry including: sterling silver necklace and one                                     J                               800.00
                                                                                                                           wedding ring
                                                                        8. Firearms and sports, photographic,              2 .22 rifles for son                                                                          J                               200.00
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name            Lincoln Benefit term life insurance policy # 8735                                             J                     no cash value
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                               Case:12-32330-EEB
                                                                     B6B (Official Form 6B) (12/07) - Cont.          Doc#:9 Filed:12/03/12              Entered:12/03/12 16:38:48 Page2 of 4
                                                                     IN RE Giron, Vincent Jacob & Lenz-Giron, Danelle Kay                                                        Case No. 12-32330 EEB
                                                                                                                            Debtor(s)                                                                             (If known)

                                                                                                                   AMENDED SCHEDULE B - PERSONAL PROPERTY
                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                 HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                    OR COMMUNITY
                                                                                                                                                                                                                          CURRENT VALUE OF
                                                                                                                     N                                                                                                   DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                                    PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                       DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                      DEDUCTING ANY
                                                                                                                     E                                                                                                    SECURED CLAIM OR
                                                                                                                                                                                                                              EXEMPTION




                                                                      14. Interests in partnerships or joint         X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor          Federal and State tax refund attributed to an earned income tax             J                           unknown
                                                                          including tax refunds. Give                    credit or a child tax credit.
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                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and             1976 Ford Bronco, 176,000 miles, gutted-no interior, extremely             H                                500.00
                                                                          other vehicles and accessories.                poor condition, purchased on 2/25/04
                                                                                                                         1986 boat trailer, poor condition                                          H                                200.00
                                                                                                                         1999 Chevrolet Suburban, spouse borrows vehicle from her                                                       0.00
                                                                                                                         parents
                                                                                                                         2000 Ford F150, work truck model, but without work truck                    J                             3,937.00
                                                                                                                         package, 168,000 miles, fair condition with scratches and dents,
                                                                                                                         used for business
                                                                                                                         2002 Ford Explorer Sport Utility 4D, V8, 4WD, 90,000 miles.                 J                             4,450.00
                                                                                                                         Value obtained from NADA website. Used mainly by business
                                                                                                                         partner's wife (Debtor paid off with Debtor's own money and is
                                                                                                                         personally lending such vehcile )
                                                                                                                         2004 Dodge Ram 2500 Quad Cab ST Pickup 4D 8 ft, V8, 149,000                H                              9,050.00
                                                                               Case:12-32330-EEB
                                                                     B6B (Official Form 6B) (12/07) - Cont.       Doc#:9 Filed:12/03/12              Entered:12/03/12 16:38:48 Page3 of 4
                                                                     IN RE Giron, Vincent Jacob & Lenz-Giron, Danelle Kay                                                     Case No. 12-32330 EEB
                                                                                                                         Debtor(s)                                                                                  (If known)

                                                                                                                AMENDED SCHEDULE B - PERSONAL PROPERTY
                                                                                                                           (Continuation Sheet)




                                                                                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                  N                                                                                                        DEBTOR'S INTEREST IN
                                                                                                                  O                                                                                                         PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                     DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                  N                                                                                                           DEDUCTING ANY
                                                                                                                  E                                                                                                         SECURED CLAIM OR
                                                                                                                                                                                                                                EXEMPTION



                                                                                                                      miles
                                                                                                                      Value obtained from NADA Guides website, purchased on
                                                                                                                      1/15/08, Used for business and personal use by business
                                                                                                                      partner; paid for by Debtor with personal funds borrowed from
                                                                                                                      parents. Claiming both personal automobile and Tools of the
                                                                                                                      Trade exemptions.
                                                                                                                      2006 Polaris ATV - used to plow business parking lot.                            J                             2,960.00
                                                                      26. Boats, motors, and accessories.             1990 Bayliner outboard boat. Vaue obtained from NADA                             J                             1,160.00
                                                                                                                      website.
                                                                      27. Aircraft and accessories.               X
                                                                      28. Office equipment, furnishings, and      X
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                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and         Misc. tools used in occupation, including table saw, stone saw,                  J                             8,500.00
                                                                          supplies used in business.                  forklift, air compressor, tile saw worth approximately $10,000;
                                                                                                                      Debtor's allocated portion of such value is $8,500 and business
                                                                                                                      partner's is $1,500.
                                                                      30. Inventory.                              X
                                                                      31. Animals.                                X
                                                                      32. Crops - growing or harvested. Give      X
                                                                          particulars.
                                                                      33. Farming equipment and implements.       X
                                                                      34. Farm supplies, chemicals, and feed.     X
                                                                      35. Other personal property of any kind     X
                                                                          not already listed. Itemize.




                                                                                                                                                                                             TOTAL                                 37,815.00
                                                                                                                                                                        (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                        Report total also on Summary of Schedules.)
                                                                               Case:12-32330-EEB
                                                                     B6C (Official Form 6C) (04/10)                   Doc#:9 Filed:12/03/12                    Entered:12/03/12 16:38:48 Page4 of 4
                                                                     IN RE Giron, Vincent Jacob & Lenz-Giron, Danelle Kay                                                             Case No. 12-32330 EEB
                                                                                                                               Debtor(s)                                                                         (If known)

                                                                                                       AMENDED SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $146,450. *
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                        ü11 U.S.C. § 522(b)(3)
                                                                                                                                                                                                                     CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED          OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                      EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Cash                                                         CRS §§5-5-105, 13-54-104                                                 75%                       3.00
                                                                     1st Bank, Checking, # 7061                                   CRS §§5-5-105, 13-54-104                                                 75%                      50.00
                                                                     Bellco, Checking, #8560                                      CRS §§5-5-105, 13-54-104                                                 75%                       5.00
                                                                     Misc. household goods and furnishings                        CRS §13-54-102(1)(e)                                                3,500.00                3,500.00
                                                                     including: 1 sofa, 2 loveseats, 2 chairs, 1
                                                                     dinette set, 1 washer, 1 dryer, 5 beds, 1
                                                                     stove, 2 freezers, 1 refrigerator, 1
                                                                     microwave, 3 vcr/dvd players, 4 tvs, 2
                                                                     stereos, 1 computer
                                                                     Misc clothing for 2 adults and 4 children                    CRS §13-54-102(1)(a)                                                2,500.00                2,500.00
                                                                     Misc. Jewelry including: sterling silver                     CRS §13-54-102(1)(b)                                                  800.00                     800.00
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                                                                     necklace and one wedding ring
                                                                     Federal and State tax refund attributed to                   CRS §13-54-102(1)(o)                                                    100%                unknown
                                                                     an earned income tax credit or a child tax
                                                                     credit.
                                                                     1976 Ford Bronco, 176,000 miles,                             CRS §13-54-102(1)(j)(I)                                               500.00                     500.00
                                                                     gutted-no interior, extremely poor
                                                                     condition, purchased on 2/25/04
                                                                     2000 Ford F150, work truck model, but      CRS §13-54-102(1)(i)                                                                  3,937.00                3,937.00
                                                                     without work truck package, 168,000 miles,
                                                                     fair condition with scratches and dents,
                                                                     used for business
                                                                     2002 Ford Explorer Sport Utility 4D, V8,                     CRS §13-54-102(1)(j)(I)                                             4,450.00                4,450.00
                                                                     4WD, 90,000 miles. Value obtained from
                                                                     NADA website. Used mainly by business
                                                                     partner's wife (Debtor paid off with
                                                                     Debtor's own money and is personally
                                                                     lending such vehcile )
                                                                     2004 Dodge Ram 2500 Quad Cab ST           CRS §13-54-102(1)(j)(I)                                                                4,525.00                9,050.00
                                                                     Pickup 4D 8 ft, V8, 149,000 miles         CRS §13-54-102(1)(i)                                                                   4,525.00
                                                                     Value obtained from NADA Guides
                                                                     website, purchased on 1/15/08, Used for
                                                                     business and personal use by business
                                                                     partner; paid for by Debtor with personal
                                                                     funds borrowed from parents. Claiming
                                                                     both personal automobile and Tools of the
                                                                     Trade exemptions.
                                                                     2006 Polaris ATV - used to plow business                     CRS §13-54-102(1)(i)                                                2,960.00                2,960.00
                                                                     parking lot.
                                                                     Misc. tools used in occupation, including   CRS §13-54-102(1)(i)                                                                 8,500.00                8,500.00
                                                                     table saw, stone saw, forklift, air
                                                                     compressor, tile saw worth approximately
                                                                     $10,000; Debtor's allocated portion of such
                                                                     value is $8,500 and business partner's is
                                                                     $1,500.




                                                                     * Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
